            Case 5:22-cv-00326-JKP Document 5 Filed 04/11/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

WILMINGTON SAVINGS FUND        §
SOCIETY, FSB, AS TRUSTEE OF    §
STANWICH MORTGAGE LOAN         §
TRUST F,                       §
                               §
     Plaintiff,                §
                               §                      Civil Action No. 5:22-cv-00326
                               §
v.                             §
                               §
SYLVIA BOSQUEZ CRUZ            §
A/K/A SYLVIA BOSQUEZ GONZALEZ, §
ANGELA GONZALEZ GUERRERO, §
AND HENRY GONZALEZ JR.,        §
                               §
     Defendants.               §

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff Wilmington Savings Fund Society, FSB, as Trustee of Stanwich Mortgage Loan

Trust F (“Wilmington” or “Plaintiff”) files this Notice of Voluntary Dismissal (“Notice”)

pursuant to Rule 41 of the Federal Rules of Civil Procedure, and shows the Court as follows:

       1.      On April 4, 2022, Wilmington filed its Original Complaint (“Complaint”) against

Defendants Sylvia Bosquez Cruz a/k/a Sylvia Bosquez Gonzalez, Angela Gonzalez Guerrero,

and Heny Gonzalez Jr. (“Defendants”) to obtain an order authorizing foreclosure of Plaintiff’s

security interest on the real property located at 135 Mascasa Street, San Antonio Texas 78237.

(ECF No. 1.)

       2.      Plaintiff no longer wishes to pursue this claim for judicial foreclosure against

Defendants. Accordingly, it files this Notice, pursuant to Rule 41 (a)(1)(A)(i) of the Federal

Rules of Civil Procedure. Plaintiff files this Notice before Defendants filed an answer or motion

for summary judgment. As such, Plaintiff voluntarily dismisses the claims it has asserted herein


PLAINTIFF’S NOTICE FOR VOLUNTARY DISMISSAL                                                PAGE 1
MWZM: 22-000097-810
            Case 5:22-cv-00326-JKP Document 5 Filed 04/11/22 Page 2 of 2




against Defendants without prejudice to the re-filing of the same.

       3.      Plaintiff’s claims are the only claims pending in this case, so dismissal will

dispose of all parties and all claims, and the Defendants will not be prejudiced.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests the Plaintiff’s

claims against Defendants be dismissed without prejudice, that no prejudice attach to such

dismissal, and that Plaintiff be awarded all other relief to which Plaintiff may be entitled.

                                                   Respectfully submitted,

                                                   By: /s/ Nicholas M. Frame
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                                                   ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S NOTICE FOR VOLUNTARY DISMISSAL                                                      PAGE 2
MWZM: 22-000097-810
